              Case
   Fill in this       6:22-bk-13055-SY
                information to identify the case:             Doc 12 Filed 11/28/22 Entered 11/28/22 11:28:50                                       Desc
                                                               Main Document    Page 1 of 2
  Debtor 1          Melissa Juniper Lethe Luna
                    __________________________________________________________________
                      First Name                Middle Name             Last Name

  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                Middle Name             Last Name


  United States Bankruptcy Court for the: __________
                                          Central District       of __________
                                                           of California
                                                        District

  Case number         6:22-bk-13055-SY
                      ___________________________________________
   (If known)




Official Form 423
Certification About a Financial Management Course                                                                                                          12/15

If you are an individual, you must take an approved course about personal financial management if:
 you filed for bankruptcy under chapter 7 or 13, or
 you filed for bankruptcy under chapter 11 and § 1141 (d)(3) applies.

In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course.
If the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must
each file this form with the certificate number before your debts will be discharged.

 If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under
  § 341 of the Bankruptcy Code.

 If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or
  before you file a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).

In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a
motion with the court and obtain a court order.

 Part 1:            Tell the Court About the Required Course


 You must check one:

    ✔
           I completed an approved course in personal financial management:

           Date I took the course              09/14/2022
                                              ___________________
                                              MM / DD / YYYY


           Name of approved provider           AccessBK.org
                                              ______________________________________________________________________


           Certificate number                  15317-CAC-DE-036832459
                                              ______________________________________________________________________


          I am not required to complete a course in personal financial management because the court has granted my motion for a
           waiver of the requirement based on (check one):
                  Incapacity.     I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                   about finances.

                  Disability.     My physical disability causes me to be unable to complete a course in personal financial management in person,
                                   by phone, or through the internet, even after I reasonably tried to do so.
                  Active duty. I am currently on active military duty in a military combat zone.

                  Residence. I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the
                              approved instructional courses cannot adequately meet my needs.

 Part 2:         Sign Here

          I certify that the information I have provided is true and correct.


   8      ________________________________________________                Melissa Juniper Lethe Luna
                                                                          ________________________________________              11/28/2022
                                                                                                                           Date _________________
          Signature of debtor named on certificate                        Printed name of debtor                                MM / DD / YYYY


Official Form 423                                             Certification About a Financial Management Course
Case 6:22-bk-13055-SY        Doc 12 Filed 11/28/22 Entered 11/28/22 11:28:50       Desc
                              Main Document    Page 2 of 2




                                            Certificate Number: 15317-CAC-DE-036832459
                                            Bankruptcy Case Number: 22-13055


                                                          15317-CAC-DE-036832459




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on September 14, 2022, at 8:32 o'clock PM PDT, Melissa Luna
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Central District of California.




Date:   September 14, 2022                  By:      /s/Madelyn Kotb


                                            Name: Madelyn Kotb


                                            Title:   Counselor
